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                                                                                United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                      July 30, 2018
                            UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

Terrell Gentry, et al.,                       §
              Plaintiffs,                     §
                                              §
vs.                                           §            Civil Action H-14-363
                                              §
Scientific Drilling International, Inc.,      §
               Defendant.                     §

                                           ORDER

       On July 23, 2018, the court approved the settlement agreement for this case and the

member cases. The parties need time to complete the claims process, but there are no more

issues for the court to resolve. Therefore, it is hereby

       ORDERED that the above-captioned case is DISMISSED. The court retains

jurisdiction over this case for purposes of ensuring compliance with the settlement

agreement. This dismissal is without prejudice to the right of either party to move to reopen

the case if the requirements of the settlement agreement are not met.

              Signed at Houston, Texas on July 30, 2018.
